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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    OWEN GARRICK,                                     Case No. 22-cv-04549-JST
                                                      Plaintiff,
                                   8
                                                                                          ORDER CONTINUING BRIEFING
                                                v.                                        DEADLINES
                                   9

                                  10    JOCELYN FREEMAN GARRICK, et al.,                  Re: ECF No. 17
                                                      Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to the parties’ joint stipulation, ECF No. 17, and good cause appearing, the

                                  14   briefing deadlines with respect to Defendants’ motion to dismiss and anti-SLAPP motion to strike,

                                  15   ECF No. 15, are hereby continued as follows: Plaintiff’s opposition is due by November 23, 2022;

                                  16   Defendants’ reply is due by December 5, 2022.

                                  17          IT IS SO ORDERED.

                                  18   Dated: November 15, 2022
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                                                                                                     JON S. TIGAR
                                  20                                                           United States District Judge

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